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               United States Court of Appeals
                                For the First Circuit
                                   _____________________

 No. 21-1421
                              UNITED STATES OF AMERICA,

                                           Appellee,

                                               v.

                                WILLIAM McGLASHAN, JR.,

                                     Defendant, Appellant.
                                     __________________

                                         JUDGMENT

                                   Entered: August 14, 2023

         This cause came on to be heard on appeal from the United States District Court for the
 District of Massachusetts and was argued by counsel.

       Upon consideration whereof, it is now here ordered, adjudged and decreed as follows: The
 judgment of the district court is affirmed.


                                                    By the Court:

                                                    Maria R. Hamilton, Clerk


 cc: Carter Glasgow Phillips, Jack Woodruff Pirozzolo, John C. Hueston, Marshall A. Camp,
 Brittani A. Jackson, Vicki Chou, Daniel Jacob Feith, Carol Elisabeth Head, Donald Campbell
 Lockhart, Karin Michelle Bell, Kristen A. Kearney, Stephen Emanuel Frank, Justin David
 O'Connell, Alexia R. De Vincentis, Leslie Wright, William H. Kettlewell, Anthony E. Fuller,
 Debra Wong Yang, Andrew Neil Hartzell, Timothy Jeffrey Perla, Bruce M. Berman, George P.
 Varghese, William McGlashan, Jr.
